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                                                                                   August 8, 2019

                                Price v. City of New York, et al.
                                    No. 15-CV-5871 (KPF)

Dear Judge Failla:

              We write jointly on behalf of Plaintiff Kelly Price and the City
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Defendants, in the above-referenced action to request to amend the Court’s March 18,
2019 Case Management Plan and Scheduling Order (the “March 18 Scheduling Order”).

               On July 30, 2018, prior to Ms. Price obtaining counsel, the Court had
entered a Scheduling Order. (Dkt. No. 120.) During the November 14, 2018 pretrial
conference, the Court stayed all discovery deadlines to allow Ms. Price time to obtain
counsel. (Conf. Tr. at 31:07-22; 39:10-14, Dkt. No. 125.) Ms. Price subsequently
obtained counsel, and, on March 15, 2019, the parties submitted a proposed Case
Management Plan and Scheduling Order. (Dkt. No. 128.) The Court then entered the
March 18 Scheduling Order. (Dkt. No. 133.) The parties have not submitted any
requests for extensions relating to that Order.

               The March 18 Scheduling Order set the deadline for completion of fact
discovery as August 19, 2019 (five months from the date of the Order). The March 18
Scheduling Order requires depositions of fact witnesses to be completed by the close of
fact discovery. Additionally, the March 18 Scheduling Order set the deadline for
completion of expert discovery as 45 days from the close of fact discovery.

               The parties have worked in good faith to make discovery progress.
However, for the following reasons, the parties do not believe they will be able to
complete document discovery and depositions by August 19, 2019. First, the scope of
electronic discovery in this case was significantly broader than anticipated. To locate

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      The City Defendants include the City of New York, Detective Linda Simmons, Lieutenant Nicholas
Corrado, Officer John Staines and Officer Iselaine Guichardo-Hermenegildo Cruz.
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documents responsive to the City Defendants’ request for production, the parties engaged
in extensive search term negotiations and Ms. Price collected documents from numerous
physical and electronic sources, including multiple email and social media accounts, cell
phones, and computer hard drives. The agreed-upon searches yielded tens of thousands
of documents that had to be reviewed for responsiveness and privilege. That review is
nearly complete, and Ms. Price anticipates producing thousands of documents that are
responsive to the City Defendants’ document requests. Once those documents are
produced, Defendants will require time to review them. In addition, the City Defendants
are still in the process of obtaining all relevant records from hospitals and other third
parties. Lastly, the City Defendants are still attempting to locate additional documents
responsive to Ms. Price’s document requests. Because document productions are
ongoing, the parties have yet to begin depositions. Moreover, the parties anticipate that
there will be many depositions in this case, due to the scope of Ms. Price’s claims and the
number of Defendants. Given the size of the document productions and number of
depositions anticipated, the parties do not believe that they will complete discovery by
August 19, 2019.

               Accordingly, the parties jointly request an extension from August 19, 2019
to November 19, 2019 to complete fact discovery, including depositions of fact
witnesses. The parties also request that the deadline for expert discovery remain 45 days
from the close of fact discovery, accounting for the amended fact discovery deadline. A
proposed Order Amending the Civil Case Management Plan and Scheduling Order is
attached.


                                                 Respectfully submitted,



                                                 Kelsie A. Docherty

Hon. Katherine Polk Failla
   United States District Judge
      Southern District of New York
          Thurgood Marshall United States Courthouse
                  40 Foley Square
                      New York, NY 10007

VIA ECF

Copy to:

Counsel of Record

VIA ECF and EMAIL
